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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Paisley Park Enterprises, Inc. and                        Court File No. ______________
Comerica Bank & Trust, N.A. as Personal
Representative of the Estate of Prince
Rogers Nelson,

              Plaintiffs,

       v.
                                                     COMPLAINT AND DEMAND
Eric Ziani; Marcel Peters; Piet Van                     FOR JURY TRIAL
Ryckeghem; Frederic Bianco; DOE 1
(d/b/a Eye Records); DOE 2 (d/b/a
Lovesigne); DOE 3 (d/b/a House Quake);
and DOES 4-20,

              Defendants.



       Plaintiffs Paisley Park Enterprises, Inc. (“Paisley Park”) and Comerica Bank &

Trust, N.A., as Personal Representative of the Estate of Prince Rogers Nelson (“Personal

Representative”) (collectively, “Plaintiffs”), by and through their attorneys, Fredrikson &

Byron P.A., 200 South Sixth Street, Suite 4000, Minneapolis, MN 55402, hereby bring

this Complaint against Defendants Eric Ziani; Marcel Peters; Piet Van Ryckeghem;

Frederic Bianco; DOE 1 (d/b/a Eye Records); DOE 2 (d/b/a Lovesigne); DOE 3 (d/b/a

House Quake); and DOES 4-20.

                                   INTRODUCTION

       1.     Prince Rogers Nelson, the international superstar and renowned artist

known as “Prince,” died on April 21, 2016, at Paisley Park in Chanhassen, Minnesota. A
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probate matter for the estate of Prince Rogers Nelson (the “Prince Estate”) is pending in

Carver County, Minnesota, Court File No. 10-PR-16-46.

       2.     Plaintiff Comerica Bank & Trust, N.A. is the Personal Representative of the

Prince Estate. Comerica is a fiduciary charged with protecting Estate assets for the

benefit of the heirs. As the Personal Representative, Comerica “has the same standing to

sue and be sued in the courts of this state and the courts of any other jurisdiction as the

decedent had immediately prior to death.” Minn. Stat. § 524.3-703.

       3.     Plaintiff Paisley Park Enterprises, Inc. is a Minnesota corporation that was

owned by Prince during his lifetime and is now owned by the Prince Estate.

       4.     A prodigious and successful songwriter and musician, Prince wrote and

recorded thousands of songs during his lifetime. Prince chose what songs to release and

when to release them. Some songs Prince recorded were not released during his lifetime.

Prince’s artistry also extended to his live performances, which showcased his distinctive

style and showmanship. Prince chose when to release recordings of his live shows and

when to keep those performances limited to the attending concertgoers. Prince carefully

protected his work and image through intellectual property, including copyrights and

trademarks.

       5.     Defendants are an interrelated group of bootleggers who are actively

conspiring to cash in on the worldwide popularity of Prince and his music. Defendants

are in the business of selling or offering to sell, distributing, and trafficking in bootlegs of

unreleased studio recordings of Prince music and unauthorized recordings of live Prince

performances. To help sell these bootleg recordings, Defendants deliberately rely on


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Prince’s distinctive trademarks as well as Prince’s name, image, and likeness, for which

they have neither license nor authorization to use. Instead, Defendants seek to trade on

the substantial goodwill associated with Prince for their own unlawful gain. Through

these illegal efforts, Defendants have wrongfully profited from Prince’s fame and

creative work. On information and belief, Defendants’ infringement has been willful,

intentional, and in bad faith.

       6.     Defendants’ intentional conduct is causing irreparable harm to the Prince

Estate. As a result, Plaintiffs have filed this action seeking monetary damages and

injunctive relief to put a stop to Defendants’ illicit operation.

                                          PARTIES

       7.     Paisley Park Enterprises, Inc. is a Minnesota corporation with offices at

7801 Audubon Road, Chanhassen, Minnesota 55317, and is a wholly-owned subsidiary

of the Prince Estate.

       8.     Comerica Bank & Trust, N.A., is the court-appointed Personal

Representative of the Prince Estate.

       9.     On information and belief, Eric Ziani resides at 112 quai Pierre Scize,

Lyon, France and Rue de Coralita, Res Tisa, Oyster Pond, 97150 Saint Martin, France.

Ziani plays a central role in Defendants’ bootlegging operation.

       10.    On information and belief, Marcel Peters resides in or around the villages

of Heteren or Eygelshoven in the Netherlands. Peters has offered to sell Defendants’

bootleg recordings through the e-mail address <purplepartyman@hotmail.com>.




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       11.    On information and belief, Piet Van Ryckeghem resides in or around the

Belgian city of Bruges. Van Ryckeghem has offered to sell Defendants’ bootleg

recordings through the e-mail address <brother.pete@skynet.be>.

       12.    On information and belief, Frederic Bianco resides in or around Bagnol sur

Ceze, near Marseilles, France. His precise whereabouts are unknown. On information

and belief, Bianco is one of the principals behind Eye Records.

       13.    On information and belief, DOE 1 is doing business as “Eye Records,” a

bootleg music label used by one or more of the Defendants to distribute and traffic in

Prince bootlegs.

       14.    On information and belief, DOE 2 is doing business as “Lovesigne,” a

person, group of persons, or entity, including at least Ziani and possibly one or more of

the other Defendants, that promotes, sells, and offers to sell bootleg Prince music.

Lovesigne sells or offers to sell bootleg Prince music through an Internet store located at

<newlovesigne.com>. Ziani is the registrant of this website.

       15.    On information and belief, DOE 3 is doing business as “House Quake,” a

person, group of persons, or entity, including at least Ziani and possibly one or more of

the other Defendants, that sells or offers to sell bootleg Prince music.

       16.    On information and belief, DOES 4-20 are co-conspirators whose identities

and addresses are presently unknown to Plaintiffs and are not presently capable of

ascertainment, but who are or will be involved in the distribution, trafficking, sale, or

offers to sell bootleg Prince music. In the event that Defendants provide or Plaintiffs




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acquire additional credible information regarding the identities of these DOES, Plaintiffs

will take appropriate steps to amend the Complaint.

                             VENUE AND JURISDICTION

       17.    This is an action for copyright infringement, violations of the Civil Anti-

Bootlegging Act (17 U.S.C. § 1101), violations of the Lanham Act, violations of the

Minnesota Deceptive Trade Practices Act (Minn. Stat. §§ 325D.44-45), and violations of

the right of publicity.

       18.    The Court has subject matter jurisdiction under 15 U.S.C. § 1121,

28 U.S.C. §§ 1331, 1338(a) and (b), and 1367.

       19.    Venue is proper under 28 U.S.C. § 1391(b) and (c) because Defendants are,

on information and belief, aliens who are engaged in infringing activities and causing

harm within this District by advertising, offering to sell, and selling infringing goods to

consumers in Minnesota.

       20.    Defendants are subject to personal jurisdiction in Minnesota because of

their commercial internet activity, and because they committed acts of copyright

infringement, trademark infringement and dilution, and violations of the Minnesota

Deceptive Trade Practices Act and right of publicity in this District, resulting in harm to

Plaintiffs in this District. Specifically, Defendants have sold infringing goods to residents

of Minnesota and each of the Defendants directly targets business activities toward

consumers in the United States, including Minnesota, at least by advertising, offering to

sell, and selling Prince bootlegs over the Internet, through which Minnesota residents

may purchase and have purchased the bootlegs.


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                                          FACTS

       A.     Prince’s Fame and Intellectual Property Rights

       21.    Prince Rogers Nelson is one of the best-selling artists of all time, having

sold over 100 million records worldwide. He was a musical innovator who integrated a

wide variety of styles in his work, including funk, rock, R&B, new wave, soul,

psychedelia, and pop. Prince won eight Grammy Awards, a Golden Globe, six American

Music Awards, and an Academy Award. He was inducted into the Rock and Roll Hall of

Fame in 2004 and the Rhythm and Blues Music Hall of Fame in 2016. Prince’s live

performances were iconic, exhibiting his unmatched talent and showmanship.

       22.    In addition to his music, Prince was famous for his distinctive look, style,

and iconography. His name and likeness are instantly recognizable around the world and

are uniquely associated with him. Following Prince’s untimely death, there has been

tremendous public interest in Prince and, particularly, in his unreleased music and his live

performances.

       23.    A prodigious and successful songwriter, Prince wrote thousands of songs.

Prince secured his rights in his music through copyright registrations. Similarly, Prince

protected his name and his unique symbol (known as the Prince Symbol or Love Symbol)

through trademark registrations. The right of publicity also protects Prince’s name,

image, and likeness.

       24.    Prince wrote the music and lyrics for the 100 works at issue in this case,

and is an author of the musical compositions (hereafter “Prince Works”). The Prince

Works at issue are identified in Paragraphs 48, 51, and 54 below.


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       25.    The Prince Works have been registered with the United States Copyright

Office and, following Prince’s death, are owned by the Prince Estate. Proof of ownership

is attached as Exhibits A, B, and C. Prince occasionally did business under the assumed

names “Controversy Music,” “Girlsongs,” “Parisongs,” “Tionna Music,” and

“Emancipated Music, Inc.” during his lifetime, which is reflected in some of the

copyright registrations.

       26.    Plaintiffs also have a number of registered trademarks related to Prince’s

name and the Love Symbol. Plaintiff Paisley Park Enterprises owns United States

Trademark Registration No 2,151,863 for the trademark PRINCE® for use with

“phonograph records, audiotapes, compact discs, and videotapes embodying musical

performances”; United States Registration No. 5,344,001 for the trademark PRINCE®

for use with “[m]usical sound recordings [and] audio visual recordings featuring music”;

and United States Trademark Registration No. 5,438,807 for the trademark PRINCE® for

use with “[e]ntertainment services, namely, providing non-downloadable prerecorded

music.” Copies of the United States Registration Certificates for the above-listed

trademarks are attached as Exhibit D.

       27.    Paisley Park Enterprises has used the trademark PRINCE® in connection

with musical sound recordings, audio visual recordings, phonographic records,

audiotapes, compact discs and videotapes embodying musical performances since 1978,

and have invested considerable resources to develop brand equity, public recognition, and

goodwill in the mark.




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       28.    The trademark PRINCE® is a famous trademark widely recognized by

consumers as an identification of Prince and his music.

       29.    Additionally, over the years, Prince Rogers Nelson and Paisley Park

Enterprises have spent hundreds of thousands of dollars policing the PRINCE®

trademark and enforcing their trademark rights. As a result of these efforts, consumers

associate the PRINCE® trademark with Plaintiffs. The PRINCE® trademark is a highly

valuable asset.

       30.    In addition, Paisley Park has used the trademark

on the right depicting the Prince Symbol with sound

recordings and entertainment services since 1992, and has

invested considerable resources to develop brand equity,

public recognition, and goodwill in the mark. The Prince

Symbol is a highly valuable asset uniquely associated with

Plaintiffs.

       31.    Plaintiff Paisley Park Enterprises owns United States Trademark

Registration No. 1,822,461 for the Prince Symbol for use with “sound recordings;

namely, prerecorded audio cassettes, phonograph records and compact discs featuring

music and entertainment; [and] pre-recorded videotapes featuring music and

entertainment”; United States Trademark Registration No. 5,344,002 for the Prince

Symbol for use with “musical sound recordings”; and United States Trademark

Registration No. 1,849,644 for the Prince Symbol for use with “entertainment services;




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namely, live performances by a musical group.” Copies of the United States Registration

Certificates for the above-listed trademarks are attached as Exhibit E.

       32.    The Prince Symbol is a famous trademark widely recognized by consumers

as an identification of Prince and his music.

       33.    Over the years, Paisley Park Enterprises has spent hundreds of thousands of

dollars policing the Prince Symbol and enforcing its trademark rights. As a result of

these efforts, consumers associate the Prince Symbol with Plaintiffs. United States

Trademark Registration Nos. 1,822,461 and 1,849,644 are incontestable and each

trademark is a highly valuable asset.

       34.    Plaintiffs have carefully monitored and policed the use of these copyrights

(hereafter, “Prince Copyrights”), trademarks (hereafter, “Prince Trademarks”), and other

intellectual property, and never assigned or licensed their intellectual property to any of

the Defendants in this matter or otherwise authorized Defendants’ use.

       B.     Defendants’ Conspiracy to Violate Plaintiffs’ Intellectual Property
              Rights

       35.    Willfully ignoring Plaintiffs’ well-established intellectual property rights,

Defendants have engaged in an international conspiracy to sell, offer to sell, distribute,

and traffic in unauthorized, bootleg Prince music. Along the way, Defendants have

exploited Prince’s distinctive name, symbol, image, and likeness without permission.

Defendants have looked to capitalize on the increased interest in Prince and his music

following his premature death.




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       36.    Defendants’ operation openly flouts U.S. intellectual property laws and has

irreparably harmed Plaintiffs by adversely impacting the market for authorized uses of

Prince music and recordings of live performances.

       37.    On information and belief, Defendants had knowledge of the Prince

Trademarks when Defendants began promoting, offering to sell, selling, distributing, and

trafficking in Prince bootlegs. Indeed, Defendants knowingly, willfully, intentionally,

and maliciously adopted and used identical, substantially identical, or confusingly similar

imitations of the Prince Trademarks to capitalize on the fame and goodwill associated

with the Prince Trademarks. Defendants sought to free ride and otherwise trade on the

enormous goodwill and reputation of Plaintiffs embodied in the Prince Trademarks.

       38.    Defendants have specifically arranged their activities to conceal themselves

and the full scope of their counterfeiting and bootlegging operation by, for example,

relying on fictitious names. Defendants’ maneuvering has made it difficult to learn all of

their true identities and the exact interworking of their network.

       39.    Nevertheless, there are numerous linkages between the Defendants and

their online activities that suggest that Defendants’ bootlegging operation arises out of the

same transaction or occurrence, or the same series of transactions and occurrences.

       40.    On information and belief, Defendants’ bootlegging conspiracy

encompasses at least three primary activities: (1) releasing unauthorized bootleg Prince

music through a record label called “Eye Records”; (2) offering for sale and selling

bootleg Prince music through an Internet store at <newlovesigne.com>; and (3) other

online advertising activities calculated to promote the sale and distribution of


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Defendants’ bootleg Prince music. Defendants’ conspiracy is a deliberate violation of

Plaintiffs’ intellectual property rights.



             i.       Defendants’ Bootleg Label

       41.     Through Plaintiffs’ monitoring and policing of their intellectual property,

Plaintiffs identified DOE 1 as an entity doing business as Eye Records. Eye Records is a

purported music label operated by Defendants that sells or offers to sell, distributes, and

traffics in bootlegs of Prince music.

       42.     Eye Records’ profile on Discogs.com—an online music database and

marketplace—confesses that Eye Records is a “Bootleg label dedicated to Prince.” A

screen shot of the webpage is reproduced below:




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       43.     Eye Records uses this logo or substantially similar logos

to identify its label:

       44.     Each compilation released by Eye Records makes prominent use of Prince

Trademarks, as well as Prince’s name, image, and likeness in the promotion and sale of

the bootleg compilation with the intent of creating an association between Eye Records,

Prince, and the famous Prince Trademarks. Words or images that are identical to or

substantially indistinguishable from the Prince Trademarks are counterfeit and dilute the




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goodwill associated with the Prince Trademarks. Those that are substantially and

confusingly similar to one or more of the Prince Trademarks are infringing.

       45.    Since Prince’s untimely death in April 2016, Eye Records has released a

substantial amount of unauthorized Prince music. Eye Records’ Discogs profile states

that the label released 18 Prince compilations from 2016 to the present.

       46.    For purposes of this Complaint, Plaintiffs have identified three illustrative

compilations of unreleased studio recordings of Prince music that were released by Eye

Records without Plaintiffs’ permission after Prince died (collectively, “Blast From The

Past Compilations”). Each compilation infringes on the Prince Copyrights by

reproducing and distributing Prince’s musical compositions. Each compilation also

violates Plaintiffs’ trademarks and right of publicity by using Prince’s name, image,

likeness, and distinctive Prince Trademarks to confuse consumers and trade on Prince’s

fame for Defendants’ own unlawful gain.

       47.    Eye Records released Blast From The Past 4.0 in 2017. The album front

and rear covers for the four-CD set, bearing Eye Record’s logo, are reproduced below:




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      48.    Among the many Prince songs contained in Blast From The Past 4.0, at

least the following 26 songs, which were reproduced and distributed without Plaintiff’s

authorization, are registered with the United States Copyright Office and are owned by

the Prince Estate (see Exhibit A):

                         Title                   Registration Number(s)
             101                                PA0000397409
             Around the World in a Day          PA0000255663
             Baby Go-Go                         PA0000328032
             Big Tall Wall                      PAu001479165
             Can't Stop This Feeling I Got      PA0000498325
             Dance Electric                     PA0000269472
             Data Bank                          PA0000509902
             Eternity                           PA0000330491
             Feel U Up                          PA0000446743
             Girl O My Dreams                   PA0000523666
             Glamorous Life                     PA0000225846
                                                PA0000227146
             Jungle Love                        PA0000224129
             La, La, La, He, He Hee             PA0000322107
             Mia Bocca                          PA0000332581
             Mutiny                             PA0000263090
                                                PA0000294417
             Paisley Park                       PA0000255664
             Power Fantastic                    PA0000669560
             Rough                              PAu000706478
             Sex Shooter                        PA0000236643
             She's Always in my Hair            PA0000259277
             Soft and Wet                       EU 697098
             Telepathy                          PA0000332163
                                                PAu000926556
             The Scream of Passion              PA0000263091
             U Got the Look                     PA0000339613
             We Can Funk                        PA0000498320
             When Doves Cry                     PA0000220373
                                                PA0000225932




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      49.    The album covers for Blast From The Past 4.0 contain unauthorized uses of

Prince’s image along with infringements and counterfeits of Prince Trademarks.

      50.    Eye Records released Blast From The Past 5.0 later in 2017. The album

covers for the four-CD set, bearing Eye Record’s logo, are reproduced below:




      51.    Among the many Prince songs contained in Blast From The Past 5.0, at

least the following 30 songs, which were reproduced and distributed without Plaintiff’s

authorization, are registered with the United States Copyright Office and are owned by

the Prince Estate (see Exhibit B):

                           Title                  Registration Number(s)
            18 and Over                          PAu002026835
            By Alien Means                       PAu001152963
            Come                                 PA0000731860
            Come Home                            PA0000448478
            Cream                                PA0000549273
            Deliverance                          PAu003896418
            Down                                 PAu001805924
            Elephant Box                         PA0000547765
            Funky                                PAu001326961
            Get Wild                             PA0000705145
            Heaven Must be Near                  PA0000547761
            I am                                 PAu003896538


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            If I had a Harem                   PAu001166396
            If I Luv U 2nite                   PA0000752389
            Jadestone                          PA0000547764
            No One Else                        PAu003903136
            Pain                               PAu001731963
            Paris 17984302                     PAu001688038
            Pink Cashmere                      PA0000669968
                                               PA0000677258
            Positivity                         PA0000377933
            Pretzelbodylogic                   PA0002003095
            Rave Un2 the Joy Fantastic         PA0001199877
            She Spoke 2 Me                     PA0000813179
            Slappy Dappy                       PA0000547763
            Sunrise Sunset                     PAu003903133
            The Sex of It                      PAu001326960
            Touch Me                           PAu003903134
            U                                  PAu001474070
            Vicki Waiting                      PA0000427518
                                               PA0000433155
            Whispering Dandelions              PA0000547762

      52.    The album covers for Blast From The Past 5.0 include unauthorized uses of

Prince’s image along with infringements and counterfeits of Prince Trademarks covering

Prince’s name and the Prince Symbol.

      53.    Near the end of 2017, Eye Records released Blast From The Past 6.0. The

album covers for the four-CD set, bearing Eye Record’s logo, are reproduced below:




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      54.     Among the many Prince songs contained in Blast From The Past 6.0, at

least the following 44 songs, which were reproduced and distributed without Plaintiff’s

authorization, are registered with the United States Copyright Office and are owned by

the Prince Estate (see Exhibit C):

            Title                                   Registration Number(s)
            (<o>) No                                PAu001081258
            (<o>) No                                PA0000377938
            17 Days                                 PA0000220372
            18 & Over                               PAu002026835
            A Million Miles (I Love You)            PA0000244009
            Alphabet St.                            PA0000377936
                                                    PA0000371276
            Anna Stesia                             PA0000377935
            Cool Love                               PA0000397408
            Daddy Pop                               PA0000549270
            Damn U                                  PA0000608657
            Desire                                  PA0000263094
            Diamonds and Pearls                     PA0000549272
            Escape (Free yo Mind from the Rat       PA0000381584
            Race)
            Feel U Up                               PA0000446743
            Glam Slam                               PA0000377934
            High Fashion                            PA0000263089
            Horny Pony                              PA0000535945



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            If the Kid Can't Make you Come        PAu000615142
                                                  PA0000224130
            Insatiable                            PA0000549276
            Live 4 Love                           PA0000549277
            Look At Me, Look At U                 PA0002022558
            Love 2 the 9's (Edit)                 PA0000608664
            Love 89                               PAu001148323
            Love's no Fun                         PA0000506560
            Million $ Show                        PA0002002369
            Money Don't Matter 2 Night            PA0000585808
                                                  PA0000549275
            Mutiny                                PA0000263090
                                                  PA0000294417
            My Name is Prince                     PA0000608651
            Nothing Compares 2 U                  PA0000261000
            Once Upon a Time                      PA0000532605
            Positivity                            PA0000377933
            Purple Rain                           PA0000217254
                                                  PA0000238407
            Schoolyard                            PAu001547992
            Sexy MF                               PA0000608650
            Sister                                PA0000085238
            Something Funky (This House           PAu001547989
            Comes)
            Sticky Wicked                         PA0000398217
            Strollin'                             PA0000549274
            The Scream of Passion                 PA0000263091
            The Voice                             PA0000668440
                                                  PA0000561571
            Times Squared (Sticky Wicked)         PA0000532604
            Walk Don't Walk                       PA0000549279
            Willing and Able                      PA0000549278
                                                  PA0000590500
            Yo Mister                             PAu001106275


      55.     The album covers for Blast From The Past 6.0 include unauthorized uses of

Prince’s image along with infringements and counterfeits of Prince Trademarks covering

Prince’s name and the Prince Symbol.



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       56.    Since Prince’s death in 2016, Eye Records has also released at least the

following compilations of recordings of live Prince performances without the Prince

Estate’s permission (collectively, “Live Performance Compilations”). These

compilations violate the Civil Anti-Bootlegging Act by distributing and trafficking in

Prince’s live musical performances without Plaintiffs’ permission, and violate Plaintiffs’

trademark and right of publicity rights by using Prince’s name, image, likeness, and

distinctive Prince Trademarks to confuse consumers and trade in on Prince’s fame for

Defendants’ own unlawful gain.

       57.    Eye Records released Prince Atlanta in 2016. The album covers for the

two-CD set, bearing Eye Record’s logo, are reproduced below:




       58.    Images of the two CDs themselves are also reproduced below:




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       59.    On information and belief, Prince Atlanta contains live recordings of

“Prince in his last-ever show.”

       60.    The album covers and CD images for Prince Atlanta include unauthorized

uses of Prince’s image along with infringements and counterfeits of the Prince

Trademarks covering Prince’s name and the Prince Symbol.

       61.    Eye Records released Prince and the Revolution: Boston Metro in 2017.

The album covers for the two-CD set, bearing Eye Record’s logo, are reproduced below:




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      62.    On information and belief, Boston Metro contains live musical recordings

of “Prince and the Revolution Live at the Metro in Boston (MA), USA on 3 April 1986.”

      63.    The album covers for Boston Metro include unauthorized uses of Prince’s

image along with infringements and counterfeits of the Prince Trademarks covering

Prince’s name.

      64.    Eye Records released Prince: 3 Nights, 3 Shows in 2016. The album

covers for the four-CD set, bearing Eye Record’s logo, are reproduced below:




      65.    On information and belief, 3 Nights, 3 Shows contains live musical

recordings of Prince at the “47th Montreux Jazz Festival 2013 – July 13, 14, 15.”

      66.    The album covers for 3 Nights, 3 Shows include unauthorized uses of

Prince’s image along with infringements and counterfeits of the Prince Trademarks

covering Prince’s name.

      67.    Eye Records released Prince and the Revolution: Rainmaker—Purple Rain

Deluxe in 2017. The album covers for the three-CD set, bearing Eye Record’s logo, are

reproduced below:



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      68.    On information and belief, Rainmaker contains live recordings of Prince

from a Linndrum Studio Jam on October 13, 1982; Rehearsal for the First Avenue 1983

Benefit Concert from July to August 1983; First Avenue Benefit Concert on August 3,

1983; Santa Monica Civic Auditorium Benefit Concert on February 25, 1985; and Funky

Rehearsal Jam in Spring 1985.

      69.    The album covers for Rainmaker include unauthorized uses of Prince’s

image along with infringements and counterfeits of the Prince Trademarks covering

Prince’s name and Prince Symbol.

      70.    Eye Records released Prince and the Revolution: Worcester 1985 in 2016.

The album covers for the three-CD set, bearing Eye Record’s logo, are shown below:




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       71.         On information and belief, Worcester 1985 contains live recordings of

Prince and the Revolution from Worcester, March 28, 1985, and Miami, April 7, 1985.

       72.         The album covers for Worcester 1985 include unauthorized uses of Prince’s

image along with infringements and counterfeits of the Prince Trademarks covering

Prince’s name and the Prince Symbol.

       73.         The releases from Eye Records, including but not limited to those described

above, are bootlegs that infringe Plaintiffs’ intellectual property rights.

             ii.          Defendants’ Illegal Internet Store

       74.         One or more of the Defendants offer for sale, sell, distribute, and traffic in

bootlegs of Prince music without Plaintiffs’ permission through the website

<newlovesigne.com>, including but not limited to bootlegs under the Eye Records label.

       75.         Defendant Ziani is the registrant of the domain name <newlovesigne.com>.

Plaintiffs identified Ziani as the registrant with a DNS WHOIS lookup, which retrieves

the information a registrant enters when registering a website, reproduced below:




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       76.    According to the DNS WHOIS lookup, at the time the domain name was

registered, Ziani was listed as the registrant, with an address at 112 quai Pierre Scize,

Lyon, France, and an e-mail address of <mutiny8@gmail.com>.

       77.    On information and belief, Ziani is one of the masterminds behind the

Defendants’ conspiracy, including at least by operating this Internet store, possibly in

conjunction with one or more of the other Defendants. Ziani’s involvement in the

conspiracy is extensive, including offering to sell, selling, and distributing bootleg Prince


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music. To promote his illegal activities, Ziani intentionally relies on Prince Trademarks

as well as Prince’s name, image, and likeness without permission to do so. In short, Ziani

is a brazen bootlegger.

         78.   Ironically, a Google Maps view of Ziani’s registered address in Lyon,

France shows that the adjacent address has a door with the word “bootlegger,” as well as

two posters that include the words “After Club Rock” and “Bootlegger,” reproduced

below:




         79.   As part of Plaintiffs’ investigation into Defendants’ activities, Plaintiffs’

investigators purchased multiple bootleg Prince compilations through the

<newlovesigne.com> website, to be shipped to Minnesota.




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         80.   The website <newlovesigne.com> is password protected. To receive access

to the website, the investigator’s buyer sent a request to the e-mail

<mutiny8@gmail.com> for a login account to the website. This e-mail address used the

Google username “House Quake” and at times signed the e-mail with the alias

“LOVESIGNE.” The buyer was given access codes for the website.

         81.   Behind the login screen, the website <newlovesigne.com> offers to sell and

sells Prince bootleg compilations, including those from Eye Records. On information

and belief, these compilations include Prince works covered by copyright registrations

owned by Plaintiffs. Moreover, to sell these illegal, bootleg albums, the website

prominently displays images of Prince and counterfeits or infringements of the Prince

Trademarks. Screen captures of illustrative portions of the website, including the

website’s top banner and a page offering to sell Blast From The Past 6.0, are reproduced

below:




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      82.      The website <newlovesigne.com> also provides free downloads of Prince

songs. A screen capture of this portion of the website is produced below:




      83.      A buyer downloaded the famous Prince song 1999 through this portion of

the website.




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       84.    The buyer first purchased two bootleg Prince compilations from

<newlovesigne.com>. The buyer’s payment was processed through PayPal, and was sent

to “ZIANI ERIC (MUTINY8@GMAIL.COM).” A screen capture of the PayPal receipt

is reproduced below, with the buyer’s personal information redacted:




         REDACTED




    REDACTED




       85.    These bootlegs were received in Minnesota. The return address on the

packaging states that the package came from ZIANI ERIC at Rue de Coralita, Res Tisa,

Oyster Pond, 97150 Saint Martin, France. A picture of the package is provided below,

with the recipient’s address redacted:




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                                   REDACTED




      86.    Another buyer purchased Eye Record’s bootleg Blast From The Past 6.0

through the <newlovesigne.com> website, to be shipped to Minnesota. Once again, the

PayPal receipt reveals that the payment was processed to <MUTINY8@GMAIL.COM>,

which the email receipt linked to “ZIANI ERIC.” A screen capture of the PayPal receipt

and email receipt, in French, are reproduced below, with the buyer’s personal information

redacted:




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       87.    Accordingly, at least Ziani, and possibly one or more of the other

Defendants, manages the <mutiny8@gmail.com> address, sells and offers to sell Prince

bootlegs through the <newlovesigne.com> website, and ships those bootlegs into the

United States, including to Minnesota. These activities infringe the Prince Copyrights

and Prince Trademarks, dilute the Prince Trademarks, violate the Civil Anti-Bootlegging

Act, violate the Minnesota Deceptive Trade Practices Act, and violate Prince’s right of

publicity held by the Prince Estate.




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             iii.         Defendants’ Illicit Promotional Activities

       88.          In addition to the <newlovesigne.com> website, at least Ziani and one or

more of the other Defendants rely on online aliases to promote their Prince bootlegs and

further the conspiracy to offer to sell and sell Prince bootlegs without Plaintiffs’

permission.

       89.          For example, on information and belief, DOE 2 (d/b/a Lovesigne) is a

person, group of persons, or entity including at least Ziani, and possibly one or more of

the other Defendants, actively involved in the Defendants’ conspiracy. Lovesigne has an

online presence through at least Facebook and Twitter.

       90.          Lovesigne’s Facebook page, which is no longer active, revealed clear links

to Ziani. In the post reproduced below, dated September 13, Lovesigne states that he

lives in Saint Martin and France. On information and belief, the post is from 2017, the

year Hurricane Irma hit the Caribbean, as mentioned by Lovesigne:




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         91.   Lovesigne used his Facebook page to promote releases of Eye Records

bootlegs. In doing so, Lovesigne made prominent use of images of Prince along with

Prince Trademarks without permission to promote the sale of Eye Records bootlegs. An

illustrative example, promoting the release of Blast From The Past 6.0, is reproduced

below:




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      92.   As shown in the image above, Lovesigne’s Facebook page also linked

viewers to the website <www.newlovesigne.com>.

      93.   A Twitter page associated with the handle “@Lovesigne” is also

reproduced below:




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       94.    Lovesigne’s Twitter page displays the Prince Symbol along with the

description “BOOTLEGS ALL OVER THE WORLD.” The page also states that the user

is located in Caraïbe, which, on information and belief, is French for Caribbean—another

link between Lovesigne and Ziani.

       95.    Lovesigne also uses the e-mail address <mutiny8@gmail.com>, which is

used by Ziani, to promote, offer for sale, sell, distribute, and traffic in Eye Records

bootlegs.

       96.    On March 22, 2018, Lovesigne sent a promotional e-mail from the e-mail

address <mutiny8@gmail.com>, announcing available pre-orders for Eye Records

compilations titled Purple Underground Volume Three and Purple Underground Volume

Six. The e-mail is reproduced as Exhibit F. Lovesigne made prominent use of Prince’s


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name, image, and works without Plaintiffs’ permission to promote and offer to sell the

bootleg recordings. For example, the image below was used in the e-mail to promote and

offer to sell the bootleg compilation.




          97.   In sum, on information and belief, Lovesigne offers to sell, sells,

distributes, and traffics in bootleg Prince music, including those under the Eye Records

label. These activities intentionally infringe Plaintiffs’ copyrights, infringe and dilute the

Prince Trademarks, violate the Civil Anti-Bootlegging Act, violate the Minnesota

Deceptive Trade Practices Act, and violate Prince’s right of publicity held by the Prince

Estate.

          98.   Next, Lovesigne and at least Ziani are also linked to a Google Plus user

with the username “House Quake.” On information and belief, DOE 3 (d/b/a House

Quake) is a person, group of persons, or entity including at least Ziani, and possibly one

or more of the other Defendants, that is actively involved in the Defendants’ conspiracy.




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       99.    On July 14, 2017, House Quake posted in the public Google Plus

community “NPG + // For Prince Fans Worldwide” an offer for preorders for bootleg

Prince CDs. Specifically, House Quake offered preorders for Blast From The Past 4.0

and Blast From The Past 5.0. The post promoted “8 CDs of fantastic outtakes and studio

material” and stated “this double-whammy consists of previously unreleased material –

NEW and TOTALLY EXCLUSIVE!” House Quake’s July 14, 2017 Google Plus

posting, with associated comments, is reproduced in full in Exhibit G.

       100.   House Quake’s post included two promotional photos, virtually identical to

the album covers for Blast From The Past 4.0 and Blast From The Past 5.0 from Eye

Records—but the front covers lack Eye Records’ identifying information. Consumers at

the point of sale or post sale would understandably, but mistakenly, believe that the

albums were released or authorized by Plaintiffs. The pictures posted by House Quake to

Google Plus are reproduced below:




       101.   On information and belief, House Quake is linked to at least Lovesigne and

Ziani. In the comments to House Quake’s July 14, 2017 post, House Quake identified

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itself as “Lovesigne,” and directed users that wish to buy the bootleg Prince CDs to a

private website. To access the website, House Quake directed users to send an email to

<mutiny8@gmail.com>, after which the user would be provided with an access code.

This is the same process Plaintiffs’ investigator used to purchase bootleg Prince albums

at <newlovesigne.com>. Specifically, the comment states “you can have all the bootlegs

prince cd or dvd on my private website My website is for sale ONLY. if you are

interested send me an e-mail to: MUTINY8@GMAIL.COM and I will send you your

access codes.” Exhibit G.

          102.   Later in the comments, House Quake also states that he can ship these

Prince bootlegs “worldwide.”

          103.   On information and belief, House Quake offers to sell, sells, distributes,

and traffics in bootleg Prince recordings, including at least those under the Eye Records

label. These activities intentionally infringe Plaintiffs’ copyrights, infringe and dilute the

Prince Trademarks, violate the Civil Anti-Bootlegging Act, violate the Minnesota

Deceptive Trade Practices Act, and violate Prince’s right of publicity held by the Prince

Estate.

          104.   Defendant Marcel Peters is an additional co-conspirator, using the e-mail

address <purplepartyman@hotmail.com> to promote, offer for sale, sell, distribute, and

traffic in Eye Records Prince bootlegs.

          105.   On June 20, 2017, Peters sent a promotional e-mail from the e-mail address

<purplepartyman@hotmail.com>, announcing two new releases from Eye Records of

compilations of live Prince recordings: Prince and the Revolution: Rainmaker—Purple


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Rain Deluxe and Prince and the Revolution: Boston Metro. The e-mail is reproduced as

Exhibit H. Peters relied on Prince’s name and works to promote and offer to sell the

bootleg recordings.

       106.   Piet Van Rychekghem (a.k.a. “Brother Pete”) is an additional co-

conspirator, using the e-mail address <brother.pete@skynet.be> to promote, offer for

sale, sell, distribute, and traffic in Eye Records bootlegs.

       107.   On December 4, 2017, Van Ryckeghem sent a promotional e-mail from the

e-mail address <brother.pete@skynet.be>, announcing Eye Records’ release of Blast

From The Past 6.0. The e-mail is reproduced as Exhibit I. The e-mail states “Eye

Records R Proud 2 Present This Brand New 4CD Release: Blast From The Past 6.0 Gold

Edition,” and is signed “Brother Pete.”

       108.   The body of the email also included the following images:




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       109.   Finally, attached to Van Ryckeghem’s e-mail was a “flyer” with a track list

for the release, also reproduced in Exhibit J.

       110.   Van Ryckeghem sent a similar e-mail from the e-mail address

<brother.pete@skynet.be> on June 13, 2018, announcing the release of a compilation

titled The Purple Underground Vol 7 (3CD by Eye Records). Again, Van Ryckeghem’s

e-mails feature Prince’s name, image, and works in an attempt to solicit preorders for the

bootleg compilation. The e-mail is reproduced as Exhibit K.

       111.   Frederic Bianco is believed to be one of the main conspirators behind Eye

Records. His precise whereabouts are currently unknown.



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       112.         On information and belief, Ziani’s co-conspirators (Peters, Van

Ryckeghem, and Bianco) have offered to sell, sold, distributed, and trafficked in bootleg

Prince recordings, including at least those under the Eye Records label. These activities

intentionally infringe Plaintiffs’ copyrights, infringe and dilute the Prince Trademarks,

violate the Civil Anti-Bootlegging Act, violate the Minnesota Deceptive Trade Practices

Act, and violate Prince’s right of publicity held by the Prince Estate.

              iv.         The Remaining Doe Defendants

       113.         On information and belief, DOES 4-20 are additional, yet to be identified

co-conspirators involved in the offer for sale, selling, distribution, or trafficking of Prince

bootlegs, including those released under the Eye Records label.

       114.         On information and belief, one or more of DOES 4-20 provided the

unauthorized Prince source material to the Defendants to be unlawfully promoted and

released. On information and belief, one or more of DOES 4-20 have access to

unreleased Prince recordings and, without authorization, are trafficking in and

distributing the recordings to the Defendants to be released without Plaintiffs’

permission.

       115.         On information and belief, one or more of DOES 4-20 recorded Prince’s

live performances or reproduced copies of those performances without permission, and

then trafficked in and distributed those unauthorized copies to the Defendants to be

unlawfully promoted and released.

       116.         House Quake’s July 14, 2017 Google Plus public post to the Google Plus

forum “NPG+// For Prince Fans Worldwide” refers to a person or persons that provided


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the Defendants with the unauthorized Prince source material to fuel the Defendants’

bootlegging conspiracy. House Quake wrote: “Eternal gratitude goes 2 our many

contacts 4 providing the unique material and 2 our friends 4 contributing important

details 4 the assembly. U no who UR. ;-).” Exhibit G.

       117.   Defendants have acted in bad faith, with malicious intent, and in knowing

disregard of Plaintiffs’ rights. By virtue of their unlawful conduct, Defendants have

made profits and gains to which they are not entitled in law or equity.

                                    COUNT ONE
                      Copyright Infringement of Multiple Works

       118.   Plaintiffs incorporate the above allegations.

       119.   The Prince Works constitute copyrightable subject matter under the laws of

the United States under 17 U.S.C. § 102(a)(2).

       120.   The 100 Prince Works have been registered with the United States

Copyright Office as indicated in Exhibits A, B, and C.

       121.   Defendants have reproduced and distributed, and continue to reproduce and

distribute, the Prince Works in violation of the Prince Estate’s exclusive rights under

17 U.S.C. § 106.

       122.   As a result, Defendants have committed copyright infringement and

continue to infringe the copyrights in the Prince Works under 17 U.S.C. § 501.

       123.   Defendants will continue to infringe the Prince Works unless enjoined by

this Court.




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         124.   As a result of Defendants’ copyright infringement, the Prince Estate is

entitled to recover actual damages and Defendants’ profits or, at the Prince Estate’s

election, statutory damages under 17 U.S.C. § 504, as well as costs and attorneys’ fees

under 17 U.S.C. § 505.

         125.   The Prince Estate is also entitled to injunctive relief under 17 U.S.C. § 502.

                                     COUNT TWO
            Violation of the Civil Anti-Bootlegging Statute, 17 U.S.C. § 1101

         126.   Plaintiffs incorporate the above allegations.

         127.   Defendants have sold or offered to sell, distributed or offered to distribute,

and trafficked in recordings of live musical Prince performances without the permission

of Prince or his Estate, including at least with the Live Performance Compilations.

         128.   On information and belief, at least one of the Defendants fixed the sounds

or images of the live Prince performances in a tangible medium, or reproduced copies or

phonorecords of such performances from an unauthorized fixation.

         129.   On information and belief, the fixations of the live Prince performances

were made without the consent of Prince during his lifetime, or his Estate following his

death.

         130.   Defendants’ actions violate the civil anti-bootlegging statute, 17 U.S.C.

§ 1101.

         131.   As a result of Defendants’ violations of the civil anti-bootlegging statute,

the Prince Estate is entitled to a permanent injunction under 17 U.S.C. § 502,

impoundment of all copies of Defendants’ Prince live recording bootlegs under 17 U.S.C.



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§ 503(a)(1)(A), money damages under 17 U.S.C. § 504, and an award of full costs and

attorneys’ fees incurred in the action under 17 U.S.C. § 505.

                                     COUNT THREE
                       Violation of Section 32(1) of the Lanham Act
                       Trademark Counterfeiting and Infringement

       132.     Plaintiffs incorporate the above allegations.

       133.     Plaintiff Paisley Park Enterprises owns United States Trademark

Registration Nos. 2,151,863, 5,344,001, and 5,438,807 for the trademark PRINCE® as

indicated in Exhibit D.

       134.     Paisley Park Enterprises has used the trademark PRINCE® in connection

with musical sound recordings, audio visual recordings, phonographic records,

audiotapes, compact discs and videotapes embodying musical performances since 1978,

and have invested considerable resources to develop brand equity, public recognition, and

goodwill in the mark. Consumers associate the PRINCE® trademark with Plaintiffs.

       135.     Plaintiff Paisley Park Enterprises owns United States Trademark

Registration Nos. 1,822,461, 5,344,002, and 1,849,644 for the Prince Symbol as indicated

in Exhibit E.

       136.     Paisley Park Enterprises has used the Prince Symbol with sound recordings

and entertainment services since 1992 and have invested considerable resources to

develop brand equity, public recognition, and goodwill in the Prince Symbol. On his

death, any rights Prince had in the Prince Symbol passed to the Prince Estate. Consumers

associate the Prince Symbol with Plaintiffs. United States Trademark Registration Nos.

1,822,461 and 1,849,644 are incontestable.


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       137.   Defendants are counterfeiting and infringing one or more of the Prince

Trademarks by, among other things, using the PRINCE® trademark and the Prince

Symbol to advertise, promote and sell their bootleg music.

       138.   Defendants’ concurrent counterfeiting and infringing activities are likely to

cause consumer confusion, mistake, and deception.

       139.   Consequently, Defendants’ actions constitute trademark infringement and

counterfeiting under Section 32 the Lanham Act, 15 U.S.C. § 1114.

       140.   Defendants acted deliberately, knowing their actions were in violation of

Plaintiffs’ rights. Defendants deliberately and willfully traded upon the goodwill

associated with the Prince Trademarks, and misled people into thinking that the music

they sold was put out by, or authorized or endorsed by, Plaintiffs.

       141.   Defendants’ conduct is causing, and will continue to cause, irreparable

harm to Plaintiffs unless it is enjoined by this Court. Seizure of the bootleg goods and

counterfeit marks is also warranted under 15 U.S.C. § 1116.

       142.   Plaintiffs have suffered damages as a result of Defendants’ actions in an

amount to be proven at trial or, in the alternative, statutory damages for willful trademark

counterfeiting under 15 U.S.C. § 1117(c) in the amount of $2,000,000 for each and every

use of the Prince Trademarks.

       143.   The Court should find that this is an exceptional case under 15 U.S.C.

§ 1117 and award Plaintiffs treble damages and attorneys’ fees.




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                                    COUNT FOUR
                     Violations of Section 43(a) of the Lanham Act

       144.   Plaintiffs incorporate the above allegations.

       145.   Defendants are using the trademark PRINCE®, the Prince Symbol, the

name “Prince Rogers Nelson” and the identity, image, and indicia of the late artist in

interstate commerce without the consent of Plaintiffs.

       146.   Defendants’ conduct is likely to cause consumers at the point of sale or post

sale to believe erroneously that Prince, his Estate, or Plaintiffs are the source of

Defendants’ unauthorized goods, or that the goods are associated or connected with

Plaintiffs, or have the sponsorship, endorsement, or approval of Plaintiffs.

       147.   The unauthorized conduct by Defendants

              (a)    is likely to cause confusion, mistake or deception at the point of sale

                     or post sale as to the affiliation, connection or association of Prince,

                     his Estate, or Plaintiffs with Defendants, or as to the origin,

                     sponsorship, or approval of Defendants’ goods or commercial

                     activities by the Plaintiffs in violation of Section 43(a) of the

                     Lanham Act, 15 U.S.C. § 1125(a)(1)(A); and

              (b)    misrepresents the nature, characteristics, or qualities of Defendants’

                     goods, services, or commercial activities in violation of Section

                     43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

       148.   Defendants’ actions have caused and will continue to cause Plaintiffs to

suffer damage to their business, reputation, goodwill, profits, and the strength of their



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trademarks, and is causing ongoing irreparable harm to Plaintiffs for which there is no

adequate remedy at law.

         149.   Defendants’ actions constituting unfair competition, false designation of

origin, false representation and false endorsement are willful and deliberate.

         150.   Plaintiffs have suffered damages as a result of Defendants’ actions in an

amount to be proven at trial.

         151.   The Court should find this case exceptional under 15 U.S.C. § 1117 and

award Plaintiffs treble damages and attorneys’ fees.

                                       COUNT FIVE
                       Violations of Section 43(c) of the Lanham Act

         152.   Plaintiffs incorporate the above allegations.

         153.   For decades, Paisley Park Enterprises has exclusively and continuously

promoted and used the Prince Trademarks throughout the United States. These

Trademarks therefore became nationally famous and distinctive, well-known symbols of

Paisley Park Enterprises and Prince well before Defendants offered their bootlegs for

sale.

         154.   Defendants are making use in commerce of trademarks that dilute or are

likely to dilute the distinctiveness of the Prince Trademarks by eroding the public’s

exclusive identification of the Prince Trademarks with Plaintiffs and otherwise lessening

the capacity of the Prince Trademarks to identify and distinguish Plaintiffs’ goods.




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       155.   Defendants’ actions demonstrate an intentional, willful, and malicious

intent to trade on the goodwill associated with the Prince Trademarks or to cause dilution

of the Trademarks to the great and irreparable injury of Plaintiffs.

       156.   Because Defendants have caused, and are likely to continue causing,

irreparable injury to Plaintiffs’ goodwill and business reputations and dilution of the

distinctiveness and value of the Prince Trademarks in violation of 15 U.S.C. § 1125(c),

and because this is an exceptional case, Plaintiffs are entitled to injunctive relief and to

Defendants’ profits and damages, costs, and reasonable attorneys’ fees under 15 U.S.C.

§§ 1125(c), 1116, and 1117.

                                   COUNT SIX
    Violation of Minnesota Deceptive Trade Practices Act; Minn. Stat. § 325D.44

       157.   Plaintiffs incorporate the above allegations.

       158.   PRINCE® and the Prince Symbol are trademarks as defined in Minn. Stat.

§ 325D.43.

       159.   Defendants have engaged in numerous deceptive trade practices in violation

of the Minnesota Deceptive Trade Practices Act, Minn. Stat. § 325D.44, including but not

limited to:

              (a)     Engaging in conduct that causes a likelihood of confusion or

                     misunderstanding as to the source, sponsorship, approval or

                     certification of Defendants’ products at the point of sale or post sale;




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                 (b)    Engaging in conduct that causes a likelihood of confusion or

                        misunderstanding as to affiliation, connection or association between

                        Plaintiffs and Defendants at the point of sale or post sale; and

                 (c)    Using deceptive representations in connection with their products.

       160.      Defendants willfully engaged in the above-described trade practices,

knowing them to be deceptive.

       161.      As a result of Defendants’ conduct, Plaintiffs are entitled to an injunction

and attorneys’ fees under Minn. Stat. § 325D.45.

                                      COUNT SEVEN
                              Violation of the Right of Publicity

       162.      Plaintiffs incorporate the above allegations.

       163.      Defendants violated the right of publicity of Prince Rogers Nelson owned

by Plaintiffs.

       164.      The right of publicity limits the public use of a person’s name, likeness or

identity for commercial purposes. The right of publicity prevents another from using a

celebrity’s name, image or likeness in connection with a product, thereby creating a false

and misleading impression that the celebrity is endorsing the product.

       165.      Prince Rogers Nelson owned a right of publicity during his lifetime. In his

death, a common law right of publicity is owned by the Estate.

       166.      Defendants used Prince’s identity to promote and sell their products,

including, but not limited to using images of the late superstar, and making prominent use

of the color purple and other indicia of Prince.



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       167.    Defendants’ use of the name, image, and likeness of Prince Rogers Nelson

was not authorized by Plaintiffs. Defendants acted deliberately for their own gain at the

expense of the Estate.

       168.    Plaintiffs have been damaged by Defendants’ conduct in an amount to be

proven at trial.

       169.    Plaintiffs are entitled to an injunction preventing Defendants from further

exploiting Prince’s name, image and likeness for their own financial gain.

                                      JURY DEMAND

       Plaintiffs demand a jury trial.

                                 REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court:

       1.      Enter an Order in favor of Plaintiffs on their claims against Defendants;

       2.      Enter a preliminary and permanent injunction preventing Defendants and

all of those acting in concert with them from:

               (a)    offering for sale, selling, distributing, or trafficking in bootleg Prince

                      music, including but not limited to unreleased Prince recordings or

                      unauthorized recordings of live Prince performances;

               (b)    using any Prince Trademark, or Prince’s name, likeness, or image, or

                      any other copy, reproduction, colorable imitation, or simulation of

                      the same, on or in connection with goods or services without

                      Plaintiffs’ permission;




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       (c)   using any Prince Trademark, or Prince’s name, likeness, or image, or

             source designation of any kind on or in connection with goods or

             services that is a copy, reproduction, colorable imitation, or

             simulation, or confusingly similar to Plaintiffs’ Trademarks, name,

             likeness or image;

       (d)   using any Prince Trademark, or Prince’s name, likeness, or image, or

             source designation of any kind on or in connection with goods or

             services that is likely to cause confusion, mistake, deception, or

             public misunderstanding that such goods or services are produced or

             provided by Plaintiffs, or are sponsored or authorized by Plaintiffs,

             or are in any way connected to or related to Plaintiffs;

       (e)   using any Prince Trademark, or Prince’s name, likeness, or image, or

             source designation of any kind on or in connection with goods or

             services that dilutes or is likely to dilute the distinctiveness of the

             Prince Trademarks;

       (f)   creating, maintaining, operating, joining, and participating in an

             Internet store used to promote and distribute bootleg music, and

             using counterfeits or infringements of the Prince Trademarks in

             furtherance of the same;

       (g)   further infringement of Plaintiffs’ copyrights;

       (h)   further violations of the Lanham Act;




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              (i)    further violations of the Minnesota Deceptive Trade Practices Act;

                     and

              (j)    further violations of Plaintiffs’ right of publicity.

         3.   Order Defendants, pursuant to 15 U.S.C. § 1116(a), to file with this Court

and serve on Plaintiffs within thirty (30) days after entry of the injunction, a written

report under oath describing in detail the manner in which Defendants have complied

with the injunction, including ceasing all offering of goods under the PRINCE®

trademark, the Prince Symbol and the identity of Prince Rogers Nelson as set forth

above;

         4.   Order Defendants to recall and surrender for destruction all products,

advertisements, and other materials that infringe Plaintiffs’ rights;

         5.   Order Defendants to transfer the domain name <newlovesigne.com> to

Plaintiffs; or order the domain name registrar—listed as 1&1 Internet SE for the

<newlovesigne.com> domain—to disable the domain name and make it inactive and

untransferable;

         6.   Enter an Order that, upon Plaintiffs’ request, any advertising services,

financial institutions, payment processors, banks, escrow services, money transmitters,

and their related companies and affiliates, identify and restrain all funds, up to and

including the total amount of judgment, in all financial accounts, advertising revenue

accounts, sub-accounts, or money transfer systems used by Defendants in furtherance of

their conspiracy, including but not limited to the PayPal account of Defendant Ziani, as

well as any other related accounts of the same customer(s) and any other accounts which


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transfer funds into the same financial institution, account(s), to be surrendered to

Plaintiffs in partial satisfaction of the monetary judgment entered herein;

       7.     Enter an Order in favor of Plaintiffs and against Defendants for all damages

in an amount to be determined at trial, including any applicable interest, including but not

limited to damages under 17 U.S.C. § 504 and 15 U.S.C. § 1117;

       8.     Enter an Order in favor of Plaintiffs and against Defendants for statutory

damages under 15 U.S.C. § 1117(c) for each transaction carried out by Defendants under

trademarks found to be counterfeit marks within the meaning of 15 U.S.C. § 1116(d), as

well as seizure of the bootleg goods and counterfeit marks under 15 U.S.C. § 1116;

       9.     Order the damages awarded be trebled for the Defendants’ use of

counterfeit trademarks under 15 U.S.C. § 1117;

       10.    Declare this case exceptional under 15 U.S.C. § 1117;

       11.    Enter an Order in favor of Plaintiffs and against Defendants for all of

Plaintiffs’ attorneys’ fees, costs and expenses incurred herein;

       12.    Enter an Order for any such other and further relief as allowed by law or

determined to be just and appropriate.




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Dated: August 31, 2018               /s/ Lora M. Friedemann
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